Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 1 of 42

   

 

 

 

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UNITED STATES DISTRICT COURT E'LECTRON'ICALLY FlLED
SOUTHERN DISTRICT OF NEW YORK DOC #:
DATE FM
JAMES H. FISCHER,
14 Civ. 1304 (PAE) (AJP)
Plaintiff,
14 Civ. 1307 (PAE) (AJP)
_V_
OPINION & ORDER
STEPHEN T. FORREST, JR., SANDRA F. FORREST,
SHANE R. GEBAUER, and BRUSHY MOUNTAIN
BEE FARM, INC.,
Defendants.
_____________________________________ X

 

These consolidated cases arise out of the termination of a longstanding business
relationship between plaintiff J ames H. Fischer and defendants Stephen T. Forrest, Jr., Sandra F.
Forrest, Shane R. Gebauer, and Brushy Mountain Bee Farm, Inc. (“Brushy” and collectively,
“Defendants”). Fischer alleges that the Defendants used his likeness and proprietary text and
images to promote their own competing knock-off version of his product, Bee-Quick, a honey
harvesting aid. He brings claims under the Copyright Act, 17 U.S.C. § 101 et seq., the Digital
Millennium Copyright Act (“DMCA”), 17 U.S.C. § 1201 et seq., and the Lanham Act, 15 U.S.C.
§ 1051 et seq., along With a claim under New York law for unfair competition.

Pending now are Brushy’s motions for summary judgment In a thorough and persuasive
Report and Recommendation, the Honorable Andrew J. Pecl<, United States Magistrate Judge,
has recommended granting these motion. For the reasons that follow, the Court agrees, and

grants these motions in their entirety.

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 2 of 42

I. Backgroundl
A. Facts
1. The Parties
Since 1999, Fischer, an apiarist, has successfully sold the product Bee-Quick. TAC 04
1126.2 Fischer promotes “Bee-Quick” as a unique “honey harvesting aid” that it is “food-safe,

non-toxic, not foul smelling, and effective.” ]d.

ln 2000, Fischer began using the following four phrases, among others, in conjunction

with the sale of Bee-Quick on his website:

1. “Are you tired of your spouse making you sleep in the garage after using Butyric
Anhydride?”

2. “Are you tired of using hazardous products on the bees you love?”

3. “Fischer’s Bee-Quick is a safe, gentle, and pleasant way to harvest your honey.”

4. “A Natural, Non-Toxic Blend of Oils and Herbal Extracts.”

 

l This summary of the factual and procedural history of this matter draws upon the following
submissions (and exhibits thereto): Fischer’s Second Amended Complaints, 14 Civ. 1304, Dkt.
50 (“SAC 04”), and 14 Civ. 1307, Dkt. 70 (“SAC 07”); Fischer’s Third Amended Complaints,
14 Civ. 1304, Dkt. 89 (“TAC 04”), and 14 Civ. 1307, Dkt. 111 (“TAC 07”); Defendants’
motions for summaryjudgment, 14 Civ. 1304, Dkt. 175, and 14 Civ. 1307, Dkt. 177 (“Def.
Br.”); Fischer’s memoranda in opposition to these motions, 14 Civ. 1304, Dkt. 178, and 14 Civ.
1307, Dkt. 179 (“Pl. Br.”); 14 Civ. 1304, Dkt. 184 and 14 Civ. 1307, Dkt. 185 (“R&R 2” or “the
Report”); Fischer’s objections to the Report, 14 Civ. 1304, Dkt. 191, and 14 Civ. 1307, Dkt. 188
(“Obj.”); Brushy’s response to Fischer’s objections, 14 Civ. 1304 Dkt. 193, and 14 Civ. 1307,
Dkt. 189 (“Def. Obj. Resp.”); and Fischer’s reply to Defendants’ response to his objections 14
Civ. 1304, Dkt. 196, and 14 Civ. 1307, Dkt. 192 (“Pl. Obj. Reply”).

2 The two cases addressed herein, 14 Civ. 1304 and 14 Civ. 1307, have been litigated in tandem.
On February 27, 2014, Fischer filed similar suits under these docket numbers against Stephen
and Sandra Forrest. On June 19, 2014, the Court stated that it was inclined to consolidate the
two cases and invited the parties’ views. Dkt. 37. Fischer, then pro se, objected to the
consolidation, stating that combining the suits could impair his ability to recover separate awards
for direct and contributory infringement See Dkt. 41 (citing 17 U.S.C. § 504 and Arista Records
LLC v. Lime Grp. LLC, No. 06 Civ. 5936 (Kl\/IW), 2011 WL 1338194, at *3 (S.D.N.Y. Apr. 7,
2011)). ln an order dated July 2, 2014, this Court declined to consolidate the cases. See Dkt. 44.
However, the Court determined that the two cases should be dealt with in concert. Ia'. As a
result, the parties’ filings in the two cases relevant to the pending motions are substantially
identical. Accordingly, for brevity, the Court henceforth will cite to the submission in l4 Civ.
1307 unless otherwise indicated.

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 3 of 42

See SAC 04 Ex. 5. Fischer has created non-website advertisements for Bee-Quick using some of
the above phrases. See, e.g., ia'.

Stephen and Sandra Forrest (“the Forrests”) are the founders of Brushy Mountain Bee
Farm lnc. (“Brushy”). Dkt. 175 (“Stephen Forrest Decl.”) 11 2. Brushy is a mail-order business
that primarily deals in bee-keeping supplies Id. 1111 2-3. ln 2007, the Forrests hired Shane
Gebauer, Brushy’s current President. Dkt. 173 (“Gebauer Decl.”) 11 1; Dkt. 180, Ex. B
(“Gebauer Dep.”) at 6.

According to Gebauer, between 2008 and 2013, he worked collaboratively with the
Forrests on the Brushy catalogue and website. Gebauer Dep. at 24, 26-29; Dkt. 180, Ex. D
(“Sandra Forrest Dep. 2”) at 6-7. This collaboration entailed, among other things, selecting
photographs and text for the products Brushy sold online and through its catalogue. Gebauer
Dep. at 27-31. To that end, Gebauer attests, Brushy “would draft its own copy [and] describe
the products that it had purchased from other vendors that it was reselling.” ]d. at 29. Today,
Gebauer works with others “to review and approve the Brushy Mountain Bee F arm catalogue.”
Id. at 31.

The Forrests attest that, around 2009, they largely stopped working on the Brushy
catalogue. Dkt. 180 Ex. C (“Stephen Forrest Dep. 2”) at 26-27, Sandra Forrest Dep. 2 at 5; Dkt.
176 Ex. C (“Sandra Forrest Dep. l”) at 17. When they did work on the catalogue, however, they
generally did so in the manner described by Gebauer, See Sandra Forrest Dep. 2 at 6 (“We
would read what the supplier had to say and then we would write it up in a way that we thought
would be best to describe the product to our customers.”); id. Stephen Forrest Dep. 2 at 12 (“I

believe we wrote [product descriptions] when Sandy and 1 were doing it.”).

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 4 of 42

As of 2014, the Forrests “ceased having any equity interest in Brushy Mountain Bee
Farm, lnc.” Gebauer Dep. at 9. Brushy Mountain Bee Farm Holdings, Inc. obtained the Forrests’
equity in Brushy. Id. at 8.

2. The Fischer-Brushy Relationship

In 2002, Brushy began selling Bee-Quick. Dkt. 174 (“Sandra Forrest Decl.”) 112;
Stephen Forrest Decl. 1111 4-5. At that point, Fischer alleges, Brushy became an “Authorized
Dealer” of the product. TAC 04 11 32. Stephen Forrest denies this. He attests that Fisher and
Brushy never had a written contract. Stephen Forrest Decl. 114; see also Dkt. 176 Ex. A
(“Fischer Dep.”) at 9; Gebauer Decl. 11 3.

From 2002 onwards, Brushy used the following words (or ones similar to it) to promote
Bee-Quick in advertisements:

This 100% Natural, non-toxic blend of oils and herb extracts works just like Bee Go

and it smells good! Fischer’s Bee Quick is a safe, gentle, and pleasant way to

harvest your honey. Are you tired of your spouse making you sleep in the garage

after using Bee Go? Are you tired of using a hazardous product on the bees you

love? Then this is the product for you!
Sandra Forrest Decl. 11 3; Gebauer Decl. 1[ 14 & Ex. F. Sandra Forrest claims that she wrote the
above text, although she and Stephen Forrest recalled with certainty only that they wrote the
phrase: “Are you tired of your spouse making you sleep in the garage?” Sandra Forrest Dep. 1
at 8-9; Dkt. 176 Ex. D (“Stephen Forrest Dep. 1”) at 19. Fischer attests that the Forrests did not
author this text. See Dkt. 180 Ex. E (“Fischer Aff.”) at 1.

3. Termination of the Fischer-Brushy Relationship
Around 2010, Brushy allegedly began having trouble obtaining Bee-Quick and decided to

sell its own version of the product, Natural Honey Harvester, which it obtains from a third-party

vendor. Gebauer Dep. at 54-56, 71; Stephen Forrest Dep. 2 at 36. As a result, on December 10,

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 5 of 42

2010, a Brushy employee sent Fischer an email stating that Brushy would not be selling Bee-
Quick in its 2011 catalogue and asking for an address to which it could ship back its remaining
Bee-Quick supply. See SAC 04 Ex. 3b (December 10, 2010 Email).

Fischer asserts that, as a result of the December 10, 2010 email, “Defendants immediately
lost any right, license, or permission to use any of [his] intellectual property, as all such use was
permitted solely in the selling of Plaintiff s product.” See TAC 04 11 35; TAC 07 1147.
Defendants accept this proposition in their motions for summary judgment On the bases of the
parties’ common attestations, the Court, for purposes of this lawsuit, assumes that as of
December 10, 2010, Brushy no longer had any “right,” “license,” or “permission” to use
Fischer’s intellectual property.

Fischer did not, however, communicate to Brushy that it no longer had such permission
to use his intellectual property until April 2011, when Fischer sent a cease and desist letter,
alleging, inter alia, that Brushy was engaged in “copyright infringement.” See Gebauer Decl.
Ex. D. ln a letter dated April 14, 2011, Gebauer replied that “there [did] not seem to be grounds
for [Fischer’s] request,” and that Brushy would “review” Fischer’s concerns if he was more
“specific.” Gebauer Decl. Ex. E. Fischer does not appear to have responded.

After Brushy’s December 10, 2010 email, Brushy did not immediately remove Bee-
Quick from its website. Gebauer Decl. 1111 13_14 & Ex. F. On December 26, 2010, Bee-Quick
was still listed for sale there. See id. And photos of Bee-Quick remained on Brushy’s website
until at least January 28, 2011, at which point they appeared to have been replaced by photos of
Natural Honey Harvester. Gebauer Decl. 11 15. Further, Fischer has adduced exhibits indicating

that an image of Bee-Quick remained on Brushy’s website until at least March 3, 2014. See

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 6 of 42

SAC 04 Exs. 9-12; see also Fischer Aff. at 10 (attesting that links to images of Bee-Quick on
Brushy website were still operable as of May 8, 2017).

On January 21, 2011, Brushy shipped its 2011 catalogue advertising Natural Honey
Harvester. Def. Br. Ex. 6 at 2-3; Def. Br. Ex. 7 (“Twete Aff.”) 1111 3-4 & Exs. A-B. The text in
the 2011 catalogue was as follows:

For years we have promoted the use of a natural product to harvest honey but an

unreliable supply of such a product has forced us to come out with our own. This

100% Natural, non-toxic blend of oils and herb extracts works just like Bee Go®

and it smells good! Natural Honey HarvesterTM is a safe, gentle, and pleasant way

to harvest your honey. Are you tired of your spouse making you sleep in the garage

after using Bee Go®? Are you tired of using hazardous products on the bees you

love? Then this is the product for you!

Def. Br. Ex. 6 at 3. Gebauer attests that Stephen Forrest came up with the name “Natural Honey
Harvester” and that he and Stephen Forrest collaborated on the catalogue text. Gebauer Dep. at
55, 23. ln contrast, Stephen Forrest attests that Gebauer came up with this wording. Stephen
Forrest Dep. 1 at 37. Between 2012 and 2014, the above text remained largely unchanged in
Brushy’s catalogues, see SAC 07 Ex. 20 (excerpts from Brushy’s catalogues), and it remained
online until at least December 28, 2011, ial Ex. 8. Two of Brushy’s third-party vendors, The
Honey Hole and C&T Bee Supply, used this advertisement in 2012 and 2014. See SAC 07 Exs.
21~22.

On February 7, 2011, Fischer filed a copyright registration for the “text and images of
[his] Bee-Quick.com website.” TAC 04 11 41; Def. Br. Ex. 4.

According to Fischer, Defendants removed Copyright Management Information (“CMI”)
from his photographs and other unspecified copyrighted works. Fischer Dep. at 133, 137. As to

the photographs, Fischer claims that Defendants removed metadata from a Bee-Quick photo he

provided them, Fischer Dep. at 137, and put their own watermark over his photo, TAC 11 141.

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 7 of 42

With respect to non-photographic materials, although Fischer’s claims as to the precise source of
the CMI at issue are elusive,3 Fischer alleges that when Defendants began selling Natural Honey
Harvester, they altered their online and print advertisements by replacing, inter alia, the term
“Fischer’s Bee-Quick” with “Natural Honey Harvester” in a sentence describing the product.
See Fischer Dep. at 131-33, 137; Fischer Aff. at 6; see also Fischer v. Forrest, 14 Civ. 1304,
2015 WL 195822 at *8 (S.D.N.Y. Jan. 13, 2015) (“[T]he Bee-Quick brochure attached to the
complaints . . . stated that ‘Fischer’s Bee-Quick is a safe, gentle, and pleasant way to harvest
your honey.’ . . . Brushy Mountain replaced the textual reference to ‘Fischer’s Bee-Quick’ with
the words ‘Natural Honey Harvester.”’). Fischer argues that these acts constitute unlawful CMI
removal. Defendants deny ever removing any CMI or metadata. Gebauer Decl. 11 8; Sandra
Forrest Decl. 11 8; Stephen Forrest Decl. 11 9.

B. Procedural History

1. Earlier Proceedings

 

3 Fischer has not been consistent as to the specific materials, other than his photographs, from
which Defendants allegedly removed CMI. ln his third amended complaint, Fischer alleged that
he had sent Brushy “layout ready text,” see e.g., TAC 04 11 92; in a later affidavit, Fischer stated
that the “epigrams” were available online, Fischer Aff. at 4; and in his deposition, Fischer
appeared to claim that CMl had been removed from his brochure, see Fischer Dep. at 137 (Q:
“[H]ow many sentences are you alleging [Defendants] removed from your brochure?” A:
“Four”). In the same deposition, however, Fischer stated that he was “not alleging [that Brushy]
ever made a copy of my brochure without the copyright notice.” Ia’. at 133 (emphasis added);
and, in a later affidavit in opposition to summary judgment, Fischer stated that there is “clear
intentional removal of CMI from the copyrighted Works misused on both the website and in the
catalog, specifically, the removal of the word ‘Fischer’ (the author’s name) from the text Works,
and its replacement with ‘Natural Honey Harvester.”’ Fischer Aff. at 6. Judge Peck’s Report
took the brochure as the “source” material for Fischer’s Dl\/ICA claim. Although Fischer’s
varying articulations have made it hard to pin down his theories as to the material(s) from which
his CMI was wrongfully removed, the Court, in the interests of completeness and of fairness to
Fischer, addresses each of the theories Fischer has articulated, in the light most favorable to him.

7

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 8 of 42

On July 9, 2014, defendants Stephen and Sandra Forrest moved to dismiss Fischer’s pro
se complaints. In a decision issued January 13, 2015, the Court denied those motions 14 Civ.
1304, Dkt. 45; 14 Civ. 1307, Dkt. 65 (collectively, “First MTD”). On December 28, 2015,
Fischer filed a Third Amended Complaint in each action. See TAC 04; TAC 07. After
Defendants moved to dismiss various claims, see 14 Civ. 1304, Dkts. 102-110; 14 Civ. 1307,
Dkts. 123~129, the Court referred the motions to dismiss to the Honorable Henry Pitman, United
States l\/lagistrate Judge, for a Report and Recomrnendation, having earlier referred the cases to
Judge Pitman for general pretrial supervision. On December 15, 2016, these referrals were
reassigned to Judge Peck.

On January 13, 2017, Judge Peck issued a Report and Recommendation, 14 Civ. 1304,
Dkt. 132; 14 Civ. 1307, Dkt. 147 (“R&R 1”), as to the pending motions to dismiss On January
27, 2017, Fischer filed objections to R&R 1, 14 Civ. 1304, Dkt. 137; 14 Civ. 1307, Dkt. 150, and
on February 10, 2017, Defendants filed responses to these objections, 14 Civ. 1304, Dkt. 141; 14
Civ. 1307, Dkt. 151. On March 21, 2017, this Court adopted the entirety of R&R 1 in a written
opinion. 14 Civ. 1304, Dkt. 153; 14 Civ. 1307, Dkt. 161. The Court thereby dismissed Fischer’s
trademark infringement claims and his New York right of publicity claim against all defendants
The Court also dismissed Fischer’s copyright infringement claims against Gebauer that had
accrued before February 3, 2012 and those against Brushy that had accrued before December 28,
2012.

2. Defendants’ Motions for Summar'y Judgment

On April 19, 2017, following discovery, Defendants filed motions for summary

judgment, 14 Civ. 1304, Dkt. 170; 14 Civ. 1307, Dkt. 172, as well as memoranda oflaw in

support, 14 Civ. 1304, Dkt. 175; 14 Civ. 1307, Dkt. 177 (“Def. Br.”). On May 8, 2017, Fischer

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 9 of 42

filed memoranda in opposition. 14 Civ. 1304, Dkt. 178; 14 Civ. 1307, Dkt. 179 (“Pl. Br.”). On
May 15, 2017, Defendants filed reply memoranda. 14 Civ. 1304, Dkt. 180; 14 Civ. 1307, Dkt.
181 (“Def. Reply l\/lem.”).

On July 14, 2017, Judge Peck issued a thorough (59-page) Report and Recommendation
on the motions for summaryjudgment. 14 Civ. 1304, Dkt. 184; 14 Civ. 1307, Dkt. 185 (“R&R
2” or “the Report”). The Report recommends granting these motions in their entirety. On
August 11, 2017, Fischer filed objections 14 Civ. 1304, Dkt. 191; 14 Civ. 1307, Dkt. 188
(“Obj.”). On August 25, 2017, Defendants filed a response. 14 Civ. 1304 Dkt. 193; 14 Civ.
1307, Dkt. 189 (“Def. Obj. Resp.”). On September 12, 2017, Fischer filed a reply. 14 Civ.
1304, Dkt. 196; 14 Civ. 1307, Dkt. 192 (“Pl. Obj. Reply”).

II. Legal Standards

A. Reports and Recommendations

After a magistrate judge has issued a Report and Recommendation, a district court may
“accept, reject, or modify, in whole or in part, the findings or recommendations made by the
magistrate judge.” 28 U.S.C. § 636(b)(1). To accept the portions of a report to which no timely
objection has been made, “a district court need only satisfy itself that there is no clear error on
the face of the record.” Acevea’o v. Lempke, No. 10 Civ. 5285 (PAE) (HBP), 2014 WL 4651904,
at *3 (S.D.N.Y. Sept. 17, 2014) (quoting King v. Greiner, No. 02 Civ. 5810 (DLC), 2009 WL
2001439, at *4 (S.D.N.Y. July 8, 2009)). When a timely and specific objection has been made,
the court is obligated to review the contested issues de novo. See z`a’.; Fed. R. Civ. P. 72(b)(3);
Hynes v. Squillace, 143 F.3d 653, 656 (2d Cir. 1998). But when the objections simply reiterate
previous arguments or make only conclusory statements, the court should review the Report and

Recommendation for clear error. Dickerson v. Conway, No. 08 Civ. 8024 (PAE) (FM), 2013

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 10 of 42

WL 3199094, at *1 (S.D.N.Y. June 25, 2013); see also Kirk v. Barge, 646 F. Supp. 2d 534, 538
(S.D.N.Y. 2009) (collecting cases). Further, “[c]ourts generally do not consider new evidence
raised in objections to a magistrate judge’s report and recommendation.” Tavares v. Cin of New
York, No. 08 Civ. 3782 (PAE), 2011 WL 5877548, at *2 (S.D.N.Y. Nov. 23, 2011); see also Panv
Am. Worla’ Airways v. Int ’l Bha’. of T eamsters, 894 F.2d 36, 40 n.3 (2d Cir. 1990) (“A district
judge is not required to hear or rehear any witness, and Pan Am had no right to present further
testimony when it offered no justification for not offering the testimony at the hearing before the
magistrate.”).

B. Motions for Summary Judgment

To prevail on a motion for summary judgment, the movant must “show . . . that there is
no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of
law.” Fed. R. Civ. P. 56(a). The movant bears the burden of demonstrating the absence of a
question of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

When the movant has properly supported its motion with evidentiary materials, the
opposing party must establish a genuine issue of fact by “citing to particular parts of materials in
the record.” Fed. R. Civ. P. 56(c)(1); see also er'ght v. Goord, 554 F.3d 255, 266 (2d Cir.
2009). An issue of fact is “genuine” if the evidence is such that a reasonable jury could return a
verdict for the non-moving party. SCR Joz'nt Venture L.P. v. Warshawsky, 559 F.3d 133, 137 (2d
Cir. 2009). “[A] party may not rely on mere speculation or conjecture as to the true nature of the
facts to overcome a motion for summary judgment.” Hicks v. Baines, 593 F.3d 159, 166 (2d Cir.
2010) (internal quotation marks and citation omitted). “Only disputes over facts that might
affect the outcome of the suit under the governing law” will preclude a grant of summary

judgment Anderson v. Liberly Lobby, Inc., 477 U.S. 242, 248 (1986). ln determining whether

10

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 11 of 42

there are genuine issues of` material fact, the Court is “required to resolve all ambiguities and
draw all permissible factual inferences in favor of the party against whom summary judgment is
sought.” Jol'mson v. Kl'lll`an, 680 F.3d 234, 236 (2d Cir. 2012) (quoting Terry v. Ashcro#, 336
F.3d 128, 137 (2d Cir. 2003)).
III. Discussion

Fischer makes several objections to the Report. See Obj. at 1-2.

A. Fischer’s Claim for Statutory Damages for Direct Copyright Infringement

Fischer objects on two grounds to the Report’s recommendation that he cannot obtain
statutory damages for direct copyright infringement First, he argues that Judge Peck, in
determining the date of Brushy’s first infringing act, wrongly relied on an affidavit that should
have been excluded. Obj. at 2-4. Second, he argues that the Report is wrong that he cannot
recover statutory damages because Brushy’s first infringing act predated Fischer’s copyright
registration Ia’. at 4-6. The Court reviews these arguments in turn, after first reviewing the
background legal standards

1. Applicable Legal Standards

“Under the Copyright Act, a copyright infringer can be held accountable for either actual
damages and profits of the infringer or statutory damages.” Solia’ Oak Sketches, LLC v. 2K
Games, Inc., No. 16 Civ. 724 (LTS), 2016 WL 4126543, at *2 (S.D.N.Y. Aug. 2, 2016) (citing
17 U.S.C. § 504(a)). Statutory damages under the Act are designed to “discourage wrongful
conduct,” as well as to provide “reparation for injury.” F. W. Woolworlh Co. v. Contemporary
Arts, Inc., 344 U.S. 228, 233 (1952).

“ln order to obtain statutory damages and attorneys’ fees, a plaintiff must have registered

its copyright prior to the alleged infringement.” Solid Oak Sketches, LLC, 2016 WL 4126543 at

11

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 12 of 42

*2 (citing 17 U.S.C. § 412 and Km`rwaves, Inc, v. Lollytogs Lta’., 71 F.3d 996, 1012 (2d Cir.
1995)). “Courts in this district have held that Section 412 of the Copyright Act imposes a bright-
line rule that precludes recovery of statutory damages and attorneys’ fees where the first act of
infringement in a series of ongoing infringements occurred prior to the work’s copyright
registration.” Ia’.

As explained below, this rule, given the dates when Brushy used the allegedly infringing
advertisements precludes Fischer from recovering statutory damages as a matter of law.

2. The Amanda Twete Affidavit

Fischer objects to the Report’s consideration of the affidavit of Amanda Twete, which
Defendants offered in support of summary judgment Obj. at 2_4. ln fact, the Twete affidavit
was properly admitted and considered in the Report.

Twete attests that she works “as the Mailroom Supervisor for Midstates Group,” Twete
Aff. 11 2, that Midstates shipped Brushy’s 2011 catalogue, ia’. 11 3, that it did so on January 21,
2011, id. 11 4, and that she “would expect” some, if not all, of Brushy’s 2011 catalogues to have
been'received “within 7~14 days from the shipment date of January 21, 2011,” id. 11 6. Twete’s
affidavit attaches two exhibits Exhibit A is a copy of a Midstates’ mailing log, which reflects
January 21, 2011 as the date on which Midstates shipped Brushy’s 2011 catalogues, Ia'. Ex. A.
Exhibit B is a copy of a screenshot of the “job ticket” for Brushy’s 2011 catalogue. Ia’. Ex. B. lt,
too, reflects that the shipment date for the 2011 catalogue was January 21, 2011. ]a'.

In objecting that Judge Peck should not have treated the Twete affidavit as admissible,
Fischer relies on a Linkedln page that he had not offered on the motions for summary judgment
Obj. Ex. B. Fischer argues that the page is Twete’s and that it establishes that Twete lacked

“direct knowledge” of the facts to which she attested because it indicates that Twete joined the

12

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 13 of 42

company in 2014_after the events at issue. He argues that the Twete affidavit should be
excluded as not based on personal knowledge. Obj. at 3 (citing Fed. R. Civ. P. 56(e)(1)).
Fischer further argues that the Twete affidavit is contradicted by its attached exhibits See Obj.
at 3. Fischer explains that he did not object earlier to receipt of Twete affidavit because he “felt
all the affidavits [submitted] were . . . clearly excludable under FRE 806,” Pl. Obj. Reply at 3
(emphasis added).

These objections fail. Fischer’s objection rests almost entirely on the Linkedln page.
Fischer, however, never adduced that page in evidence in connection with briefing on summary
judgment, despite being aware that Defendants had offered Twete’s affidavit into evidence.
(lndeed, Fischer did not take Twete’s deposition or object to receipt of her affidavit until after
Judge Peck’s Report had issued.) lt is, however, well settled that “[c]ourts generally do not
consider new evidence raised in objections to a magistrate judge’s report and recommendation.”
Tavares, 2011 WL 5877548, at *2. The submission of new evidence following such a Report is
merited only in rare cases, where the party objecting to a Report has offered “a most compelling
reason” for the late production of such evidence, Housing Works, Inc. v. Tarner, 362 F. Supp. 2d
434, 438 (S.D.N.Y. 2005), or a “compelling justification for [its] failure to present
such evidence to the magistrate judge,” Thomas v. Comm ’r ofSoc. Sec., No. 16 CV 9247-1.,TS-
Kl---IP, 2017 WL 3475064, at *1 (S.D.N.Y. Aug. 11, 2017) (quoting Ber/)ick v. Precincl 42, 977
F. Supp. 2d 268, 273 (S.D.N.Y. 2013)). Here_, Fischer has not offered any suchjustification.

Moreover, on its face, Twete’s affidavit provides an adequate basis on which she is
qualified to testify as to the shipment and expected receipt dates of Brushy’s 2011 catalogues
She attests that she serves as mailroom supervisor for Brushy, a position that by its nature would

tend to imply experience which such matters She further attests that the statements to which her

13

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 14 of 42

affidavit is attesting are known to her to be true. Fischer was at liberty to test in a deposition her
competence to so attest, whether based on her personal experience or as a custodian familiar with
and qualified to testify about Brushy’s mailroom records He did not do so.4 And the Linkedln
page that Fischer now presents, based on an Internet download, is plainly inadmissible for any
purpose-it has not been authenticated; and the statements in it are inadmissible hearsay. The
Court therefore declines to receive Fischer’s new evidence or to rule that Twete’s unobj ected-to
affidavit is inadmissible

ln any event, the affidavit is not the only record evidence that Brushy’s acts of alleged
infringement date to December 2010. Fischer’s own SAC attached as Exhibit 7 a screenshot of a
webpage that shows alleged infringement of just such a nature on December 26, 2010, and this
exhibit was referenced in Fischer’s Third Amended Complaint. TAC 11 52.5 Fischer’s own
evidence thus supports the Report’s assessment of the date of Defendants’ first infringing act.
Excluding Twete’s affidavit would, therefore, not disturb the Report’s outcome.

3. Statutory Damages for Pre-Registration Infringement

Fischer also objects to the Report’s determination that he cannot obtain statutory damages
on the ground that Defendants’ first infringing act in a series predated Fischer’s copyright
registration Obj. at 2-6; see R&R 2 at 23-26. On a'e novo review, the Court finds, with the

Report, that Fischer cannot recover statutory damages

 

4 Defendants represent that, had Fischer deposed Twete, he would have learned that “she has
worked at Midstates since at least 2006, personally handled the Brushy Mountain accountant,
and that Midstates has a postal facility at is location in South Dakota.” Def. Obj. Resp. at 3.

5 Consistent with this evidence, Defendants’ Local Rule 56.1 statement, to which Fischer never
responded as to this point, states that Fischer’s product was on Brushy’s website on December
26, 2010 and that Brushy’s 2011 catalogue was mailed on January 21, 2011.

14

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 15 of 42

Judge Peck reasoned as follows He noted that Fischer had repeatedly alleged that
Defendants lost all right and license to use his intellectual property on December 10, 2010. R&R
2 at 4 n.4. Judge Peck therefore, without objection, used December 10, 2010 as the date after
which any use of Fischer’s intellectual property by Brushy would constitute copyright
infringement Icl. Judge Peck next found that Brushy had kept Bee-Quick on its website until at
least December 26, 2010 and had shipped its catalogue containing the allegedly infringing
phrases on January 21, 2011. That meant that Brushy had infringed Fischer’s copyright in both
December 2010 and January 2011. Ia'. at 25-26. Judge Peck further found that Fischer had not
registered his copyright until February 7, 2011. Ia’. On these facts, he held, statutory damages
are unavailable, based on uniform case law in this District that 17 U.S.C. § 412 imposes a bright-
1ine rule under which such damages (as opposed to actual damages) are unavailable where a
defendant’s first infringing act occurs before a plaintiff has registered his copyright Ia'. at 24-
26. Judge Peck also rejected Fischer’s theory that each republication of his intellectual property
constituted a new infringing act Rather, he held, Brushy’s post-registration uses of Fisher’s
intellectual property were part of a pattern of similar ongoing infringements dating to Brushy’s
first pre-registration infringement As Judge Peck explained, Brushy’s post-registration uses of
Fischer’s phrases were largely identical to its pre-registration uses and no appreciable amount of
time had passed between the publications Ia’. at 25_27.

ln objecting to this aspect of the report, Fischer makes several arguments See Obj. at 4-
5; Pl. Obj. Reply. at 1-2.

Fischer now claims that Brushy’s December 10, 2010 email announcing its cessation of
sales of Bee-Quick did not, in fact, result in its losing all rights and licenses to use his intellectual

property. This argument he admits, repudiates a core tenet of his Complaint See Pl. Obj. Reply

15

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 16 of 42

at 5 (“The Complaint . . . was wrong on contract law, on copyright law, and factually.”). lnstead,
Fischer appears now to characterize Brushy’s 2010 email as akin to a notice of intent to breach,
Obj. at 4; he claims that Brushy could not have “infringe[d] until 2012,” id. at 5. This is so,
Fischer says, because Brushy “fully performed” in 2011 by selling Bee-Quick in January 2011.
Ia’. Fischer notes that among their defenses to Fischer’s copyright infringement claim in their
Answer, Defendants stated that they had a “license” to sell. Pl. Obj. Reply at 5; see 14 Civ.
1304, Dkt. 53 (“Ans.”) at 23. Fischer similarly characterizes his April 2011 cease and desist
letter as prospective only. Obj. at 4. In effect, Fischer characterizes this letter to convey that
rescission of Brushy’s license would first occur in 2012. On this basis, Fischer argues, Brushy’s
first infringing act could not have occurred until 2012, after Fischer’s copyright registration in
February 2011. Ia’. at 4-5.

Depending on the circumstances, courts in this district have taken differing approaches
where a litigant raises new legal theories in objections to a Report and Recommendation. Many
hold that new legal theories are akin to new evidence and therefore not a valid basis to oppose a
Report See e.g., Parks v. Comm ’r ofSoc. Sec., No. 15 CIV. 6470 (ER), 2017 WL 3016946_, at
*3 (S.D.N.Y. July 17, 2017) (collecting cases). Others use a multi-factor test to determine
whether there is good reason to consider the new theory. See e.g. , ia’.

For two independent reasons, this Court declines to allow Fischer, at this late stage, to
fundamentally reconceive his theory of liability.

First, unlike in cases in which a plaintiff has been silent on the relevant legal point, here,
Fischer in his Complaint pled directly contrary to the theory he now pursues, and this litigation
has proceeded on Fischer’s declared premise that Brushy’s right to use his intellectual property

terminated in December 2010. lt is black letter law that a plaintiff may not alter his pleadings

16

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 17 of 42

through a brief. See, e.g., W/‘ight v. Ernst & Yoimg LLP, 152 F.3d 169, 178 (2d Cir. 1998).
Here, Fischer has attempted to do just that, and his repudiation of his pleadings comes late in the
litigation, no less See Pl. Obj. Reply at 5 (“The Complaint . . . was wrong on contract law, on
copyright law, and factually.”).6

Second, permitting Fischer to reconceive and effectively to restart this case at this late
stage-after discovery, full briefing on summary judgment before a magistrate judge, and the
rendering of a detailed and thoughtful opinion on the plaintiffs claims as brought-would waste
substantial judicial resources and undermine the objectives of the Magistrates Act “A
proceeding before a magistrate judge is not a meaningless dress rehearsal.” Dennara' v. Kelly,
90-CV-0203(E)(F), 1997 WL 9785 at *1 (W.D.N.Y. Jan 2, 1997) (citing Klawitter v. Chater,
No. 93-CV-0054E(H), 1996 WL 643367 at *1 (W.D.N.Y. Oct. 18, 1995)).

The waste of resources would be particularly acute here because permitting Fischer to
alter his theory as to when Brushy first infringed his copyright would open the door to a new
round of briefing (if not discovery). ln particular, were Brushy treated as having a valid license
through 2012, the issue would then arise whether Defendants’ use of Fischer’s copyright prior to
the date of Fischer’s copyright registration had been within or outside the scope of the license he
granted them. “lt is black-letter law that a claim for copyright infringement lies when a party’s

use of copyrighted material exceeds the scope of its license.” See John Wiley & Sons, Inc. v.

 

6 lt is no answer to treat Fischer’s objections as, effectively, an untimely motion for leave to file
an amended complaint “[W]here a ‘plaintiff blatantly changes his statement of the facts in order
to respond to the defendant[’s] motion to dismiss . . . [and] directly contradicts the facts set foith
in his original complaint,’ a court is authorized ‘to accept the facts described in the original
complaint as true.m Collilon v. Craval'h, Swaine & Moore LLP, No. 08 ClV 0400 CNRB), 2008
WL 4386764, at *6 (S.D.N.Y. Sept. 24, 2008) (quoting Wallace v. New York Cin Dep’t of
Corr., No. 95 Civ. 4404, 1996 WL 586797, at *2 (E.D.N.Y. Oct. 9, 1996)), af/"a', 356 F. App’x
535 (2d Cir. 2009).

17

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 18 of 42

DRK Photo, 998 F. Supp. 2d 262_, 287 (S.D.N.Y. 2014) (quoting Harrell v. Van a'er Plas, No. 08
Civ. 8252 (GEL), 2009 WL 3756327, at *2 (S.D.N.Y. Nov. 9, 2009)) (collecting cases). Thus,
to defeat the defense to statutory damages that Brushy’s infringement predated registration of
Fischer’s copyright, Fischer would have to show that Brushy’s use of Fischer’s copyrighted
material to promote Natural Honey Harvester_by shipping its catalogue with Natural Honey
Harvester and the infringing phrases on January 21, 2011, and by advertising Natural Honey
Harvester on its website by January 28, 2011-was within Brushy’s license. Only if those 2011
acts were within Brushy’s license would they not give rise to a claim for copyright infringement
To so establish would require Fischer to repudiate his pleadings, in which he consistently
contended that these acts by Brushy were unauthorized See e. g., TAC 07 11 26 (“[N]o
permission was granted to use [_his] copyrighted works in any way except specifically in the sale
of [his] product.”); see also ia’. 111147, 72. And these pleadings were plausible: As the Court
noted in denying the motion to dismiss, “that Fischer[’s license1 [would] allow[] a competitor to
repurpose original works he had created, copyrighted, and continued to use to promote and sell

his own product-is highly improbable.” Fischer, 2015 WL 195822, at *7.7

 

7 Fischer attempts to avoid this result by noting, based on TVT Records v. ]sland Def./am Masic
Grp., 412 F.3d 82 (2d Cir. 2005), and Graham v. James, 144 F.3d 229 (2d Cir. 1998), that a
breach of a licensing agreement cannot give rise to copyright infringement prior to rescission,
and positing that he did not rescind the license until after February 7, 2011, But this theory, too,
relies on disputed facts and legal conclusions including that Defendants’ license to sell Fischer’s
goods persisted after Defendants had announced to Fischer their decision to discontinue selling
his goods, and that the license entitled them to use Fischer’s intellectual property to sell
Defendants’ competing products Fischer has long disputed these points See, e.g., TAC 04

11 237 (“The fact of this breach of contract is of particular note in this litigation as a firm basis for
the loss of any and all license, permission, or grant of rights Defendants had as a result of their
status as an Authorized Dealer for Plaintiff. Any/all rights terminated in Dec 2010.”); TAC 07

11 72 (“Defendants’[sic] had full knowledge of Plaintiff’s rights under copyright, and the highly
limited nature of the use they were permitted when selling Plaintiffs product.”); id. at 11 26
(“[N]o permission was granted to use Plaintiff’s copyrighted works in any way except
specifically in the sale of Plaintiff’s product.”).

18

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 19 of 42

The Court therefore adopts this aspect of the Report, which rightly held that, as a matter
of law, Fischer cannot recover the statutory damages he elected to pursue. Given Fischer’s claim
that Brushy’s license to use Fischer’s intellectual property ceased on December 10, 2010,
Brushy’s uses of that property in December 2010 and January 2011 were acts of infringement
that predated Fischer’s February 201 l copyright registration, precluding recovery of statutory
damages under 17 U.S.C. § 412. See Solia' Oak Sketches, 2016 WL 4126543 at *2 (collecting
cases). And the law does not support Fischer’s claim that Brushy’s annual republications were
separate infringing acts See e.g., ia’. at *3 (one-year gap insufficient to give rise to a new
infringing act; “when the same defendant infringes on the same protected work in the same
manner as it did prior to the work’s re gistration, the post-registration infringement constitutes the
continuation of a series ofongoing infringements”); see Irwin v. ZDF Enterp)'/T.s'es Gml)H, No.
04-CV-8027-RWS, 2006 WL 374960, at *6 (S.D.N.Y. Feb. 16, 2006); cf. Troll Co. v. Uneeda
Doll Co., 483 F.3d 150, 158-59 (2d Cir. 2007) (finding “nine or ten years” of cessation a “non-
trivial period of time” such that “a post-registration act of infringement . . . [could] be deemed
[not] to have commenced before registration”).

B. Fischer’s Claim for Statutory Damages Based on Secondary Infringement

Fischer’s Complaints alleged that two third-party vendors, C&T Bee Supply and The
Honey Hole, had infringed on his copyrighted works by displaying them online without his
permission. See, e.g., TAC 07 11 51. Fischer attached images embodying this alleged
infringement See, e.g., SAC 07 Exs. 21-22. Fischer did not join these vendors; he instead
sought to hold Brushy alone liable for their acts See TAC 07 1111 95, 102, 109, 116. Fischer
alleged that Brushy’s actions caused the vendors to infringe, for which Brushy is secondarily

liable. See, e.g., TAC 07 at 1111 51, 83~89, 95, 102, 109, 116; Pl. Obj. Reply at 7.

19

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 20 of 42

The Report recommended granting Brushy’s summary judgment motions as to Fischer’s
secondary infringement claims, substantially because the vendors’ infringements were “part of a
series of related infringements by defendants and the [third parties] of the same copyrighted
work” that predated Fischer’s registration of his copyright, see R&R 2 at 29, thereby disentitling
Fischer to statutory damages Fischer objects to that recommendation, arguing that Judge Peck
overlooked that these two consolidated cases include “a distinct and separate action (14cv1307)
for secondary infringement,” Obj. at 5-6, and that Fischer’s “sole reason for filing 14cv1307 as a
separate action was to seek a separate award of statutory damages for the indirect infringement
over and above that for direct infringement,” ia’. at 6.

Fischer’s basis for objecting to this aspect of the Report is not entirely clear, but he
appears to contend that his filing of two separate lawsuits, rather than consolidating his claims
against Brushy into a single lawsuit, entitles him to two statutory damage awards, one for
Brushy’s direct infringement and another for Brushy’s having caused its vendors to infringe on
its behalf. Fischer appears to rely on 17 U.S.C. § 504, which allows a copyright owner to elect,
in lieu of actual damages, an award of statutory damages “for all infringements involved in the
action with respect to any one work, for which any one infringer is liable individually, or for
which any two or more infringers are liable jointly and severally[.]” 17 U.S.C. § 504(c)
(emphasis added).

Fischer’s critique is not responsive to the Report’s basis for recommending against an
award of statutory damages from Brushy based on the vendors’ alleged infringement Judge
Peck acknowledged-and did not overlook_the fact that Fischer had filed two separate suits,
including one pursuing a theory of secondary liability. See R&R 2 at 27-30; see also ia'. at 1, 28.

But he reasoned that Fischer’s claim for separate statutory damages failed as a matter of

20

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 21 of 42

substantive copyright law, irrespective of the number of lawsuits into which Fischer segmented
his claims Judge Peck found that Brushy’s vendors’ infringement was part of the series of
infringing acts performed or assisted by Brushy that had commenced on December 10, 2010
before Fischer registered his copyright and, relying primarily on Bouchat v. Bon-T on Dep ’t
Stores, Inc., 506 F.3d 315 (4th Cir. 2007), held that the fact that this series of infringing acts
predated Fischer’s registration of the copyright, barred an award of statutory damages against
Brushy for its contributory infringement R&R 2 at 30.8

Fischer’s objection does not engage with this critique, He focuses on the fact that he
bifurcated his claims into separate lawsuits He does not, however, respond to the Report’s
substantive explanation why Brushy does not owe statutory damages He does not, for example,
take issue with the doctrine that di sentitles a copyright owner to statutory damages where a series
of related infringements began before the owner registered a copyright, or with the Report’s
conclusion that the vendors’ acts of infringement fomied part of a series with Brushy’s

Because Fischer has not made a specific objection to the l.\/lagistrate .ludge’s findings
Fischer’s objection does not trigger a’e novo review. Pinkney v. Progressive Home Healfh Servs.,
No. 06 ClV.5023 (L'l`S) (JCF), 2008 WL 2811816, at *1 (S.D.N.Y. July 21, 2008), af/""d, 367 F.
App’x 210 (2d Cir. 2010) (citing Unitec'l Sl'al‘es v. Male Juvenile, 121 F.3d 34_, 38 (2d Cir. 1997)).
Applying that standard, the Court has reviewed the Report’s findings on secondary liability for

clear error and has found none. For avoidance of doubt, however, even had de novo review been

 

8 Like this case, Boachat involved multiple lawsuits: one against the Baltimore Ravens and
National Football League Properties, and four against “several hundred companies (licensees).”
Bouchat, 506 F.3d at 324; id. at 330 (“NFl/P’s battalion oflicensees_not NFLP itself-are the
defendants in the cases before us today . . . . Bouchat argues that the correct approach would
have been to treat the date on which each individual licensee first violated Bouchat’s copyright
as the date that licensee’s infringement commenced under § 412(1). We disagree.”).

21

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 22 of 42

warranted, the Court would find no error in Judge Peck’s articulation of why statutory damages
are unavailable based on Brushy’s facilitation of its vendors infringement of Fischer’s
copyrights The Court therefore adopts Judge Peck’s recommendation on this point, too.

C. Fischer’s Claim Under the DMCA

Fischer next objects to the Report’s recommendation that this Court grant summary
judgment to Defendants on Fischer’s claims under the DMCA, 17 U.S.C. § 1202. Obj. at 6-8.
Fischer argues that Brushy removed CMI in violation of § 1202 when, in revising its online and
print advertisements from promoting Bee-Quick to promoting Natural Honey Harvester, it
substituted, in a sentence, the term “Natural lloney Harvester” for the term “Fischer’s Bee-
Quick.” Ia’.; Pl. Br. 17-19. lt is undisputed that Defendants made this substitution However, on
de novo review, the Court finds, with the Report, that this activity did not constitute Cl\/ll
removal as a matter of law. The Court therefore adopts the Report’s recommendation as to the
DMCA claims

1. Applicable Standards Under the DMCA

Section 1202 prohibits infer alia, “intentionally remov[ing] . . . any copyright
management information” with the knowledge (or with reasonable grounds to know) that doing
so will “induce, enable, facilitate, or conceal” an infringement of copyright.” 17 U.S.C.
§ 1202(b). To prevail on a claim for Cl\/ll removal, a plaintiff must show “(1) the existence of
Cl\/ll on the [work at issue]; (2) removal and/or alteration of that information; and (3) that the
removal and/or alteration was done intent.ionally.” BanxCorp v. Coslco Wholesale Corp._, 723 F.
Supp. 2d 596, 609 (S.D.N.Y. 2010).

As relevant here, Cl\/ll includes the name of the author or copyright owner. See ia’.; 12

U.S.C. § l202(c). Cl\/ll can be “contained in the body ofa work,” see Bounce Exch., lnc. v. Zeus

22

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 23 of 42

Enter. Lta’., No. 15CV3268 (DLC), 2015 WL 8579023, at *3 (S.D.N.Y. Dec. 9, 2015), and need
not exactly match the name of the copyright owner, see ia’. (a “shorthand form of the official
name of the author of the work” can constitute Cl\/ll). ln light of the above, Fischer is correct
that the word “Fischer’s”_a part of the term that Defendants substituted out of Fischer’s
advertisements_is capable of constituting Cl\/ll. See Agence France Presse v. Morel, 769 F.
Supp. 2d 295, 305 (S.D.N.Y. 201 l) (“lt is implausible that a viewer of l\/Iorel’s photos would not
understand the designations ‘l\/lorel’ and ‘by photomorel’ appearing next to the images to refer to
au.thorship.”).

But, to qualify, the word or words said to constitute Cl\/_ll must also be “conveyed in
connection with copies . . . ofa work . . . or displays ofa work . . . .” 17 U.S.C. § 1202(0)(2),
The Cl\/ll must be attached to, depicted in, or broadly “conveyed in connection” with a
copyrighted or copyrightable “work.” The works on which Cl\/ll removal claims are based
commonly consist of photographs, see, e.g., Playboy Enterprises Ini’l Inc., 2016 WL 1023321, at
*4, but CMl removal actions can lie from the removal of such information from other works, see,
e.g., BanxCorp, 723 F. Supp. 2d at 609 (citing cases with Cl\/ll claims based on architectural
plans, news articles_, and drawings). And although a “plaintiff s failure to register its copyrighted
work is not a bar to a DMCA action,” Playboy Enlerprises Inll [nc., 2016 WL 1023321_, at *5
(quoting I.M.S. Inquiry Mgmt. Sys., Lta’. v. Berkshire [nfo. Sys., Inc,, 307 F. Supp. 2d 521, 531
n.9 (S.D.N.Y. 2004)), “[a]n action for removal of copyright management information requires
the information to be removed from a plaintiffs product or original work,” Faulkner Press,
L.L.C. v. Class Noles, L.L.C., 756 F. Supp. 2d 1352, 1359 (N.D. Fla. 2010) (citing Schi}j"er

Pub/’g, Ltc'l. v. Chronicle Books, LLC, Civil Action No. 03-4962, 2004 WL 2583817, at * 14

23

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 24 of 42

(E.D. Pa. Nov. 12, 2004) and Kelly v. Arril)a Soft Corp., 77 F. Supp. 2d 1116, 1122 (C.D. Cal.
1999) aff'd and rev ’d in pari on other grounds 336 F.3d 81 1 (9th Cir. 2003)).9
2. Discussion

Although Fischer has oscillated in his theories under the DMCA, see supra, note 3, the
Court, drawing on Fischer’s various filings has identified four items that could serve as an
original c‘work” of Fischer’s from which Brushy allegedly removed Cl\/ll: (1) the website and/or
brochure Fischer submitted in conjunction with his copyright registration; (2) the “description
text” Fischer sent to Brushy; (3) the four copyrighted phrases used in the allegedly offending
advertisement; and (4) the phrase to which “Fischer’s” is attached in the advertisement altered by
Brushy: “Fischer’s Bee-Quick is a safe, gentle, and pleasant way to harvest your honey.” 'l`he
Court considers these in turn

a. Fischer’s Brochure and Website

Fischer testified in his deposition that Brushy removed four sentences from his brochure,
Fischer Dep. at 137. Fischer further attested in his affidavit opposing summary judgment that
the epigrams relating to his product could also be “found on various web pages.” Fischer Aff. at
4. However, even assuming that Fischer’s brochure and website are “works” covered by the
DMCA, the Report correctly found that Fischer cannot maintain a claim based on removal of

Cl\/ll from either source. That is because no CMl was removed from his original brochure, his

website, or a copy or display of them.

 

9 Brushy argues that “§ 1202(b) ‘prohibits the removal or alteration of “copyright management
information” from a validly copyrighted work,”’ rather than a merely copyrightable one, Def.
Reply Mem. at 7 (emphasis in original) (citing Silver v. Lavandeira, No. 08 Civ. 6522 (JSR),
2009 WL 513031, at *2 (S.D.N.Y. Feb. 26, 2009)), but courts in this district have persuasively
held that Cl\/ll is not so limited. See Playboy Enlerprises Ini ’l Inc., 2016 WL 1023321, at *5.

24

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 25 of 42

Aside from the four phrases noted above, Brushy’s advertisement bears no resemblance
whatsoever to Fischer’s brochure or website. ln those cases where claims of removal of CMI
have been held viable, the underlying work has been substantially or entirely reproduced See,
e.g., Bounce Exch., 2015 WL 8579023, at *2-4 (Cl\/ll removal claim viable where defendants
removed “shorthand forms” ofplaintiff s name from plaintiffs source code and inserted
"poitions of [plaintiff’ s1 code, structure, sequence, and organization” into its defendants’ own
code such that the “[defendant] was selling software source code that was ‘substantially similar’
to [plaintiff` s] proprietary code”); A.s.s'ocialed Press v. All Headline News Corp., 608 F. Supp. 2d
454, 458, 461 (S.D.N.Y. 2009) (Cl\/ll removal claim viable where defendants “instructed
reporters to remove or alter the identification of the [Associated Press] as author or copyright
holder of the articles”). This requirement accords with the DMCA text that requires Cl\/ll to be
“conveyed in connection with copies . . . ofa work . . . or displays ofa work.” 17 U.S.C.

§ 1202(c). Fischer’s brochure and website are not, however, copied here. Aside from four
discrete phrases among the many used on Fischer’s brochure and website, there is no similarity
between Fischer’s original works and Brushy’s advertisement Brushy cannot be said to have
removed Cl\/ll from these of Fischer’s “works.”

b. Fischer’s “Description Text”

The “description text” that Fischer sent Brushy could, in theory, constitute a “work”
under the Dl\/ICA, because, as noted, the material at issue in a DMCA claim need not be a
subject of a registered copyright Playboy En/erprises lnt ’l Inc., 2016 WL 1023321, at *5. But
Fischer has not shown that Brushy removed Cl\/Il from this text, because, at the summary

judgment stage, he did not adduce evidence of the content of the “description text” he had sent

25

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 26 of 42

Brushy.10 See Pl. Br. at 17-19; Dkt. 180 (“Michelen Aff.”). Fischer’s complaints alleged that
the images and description text he sent to Brushy “consist[ed] of images of brochures flyers and
other sales materials,” all of which were “derivative works of Plaintiff’s original creative
unpublished copyrighted Works.” TAC 04 11 92. This description, and descriptions that Fischer
furnished later in this litigation, do not suggest that Fischer sent Brushy a singular work; rather,
they suggest multiple materials from which Brushy was to construct its own advertisement See
e.g., Fischer Aff. at 1 (“The difference between the print catalog [text] and the website [text]
prior to 2008, and the poor artistry in the line art sketch of the Bee-Quick product as compared to
those for other products was the primary reason why l kept mailing CDs to the Forrests each fall
with camera-ready artwork, photos of the products and point-of-sales mal'erials.”) (emphasis
added); see also TAC 07 11 71 (“ln all of the above [versions of the online description text],
Defendants’ had access to and full knowledge of Plaintiff s copyrighted Works, providing them
the source material with which to infringe.”). Fischer also notes that he and Defendants “would
discuss changes to the text . , . of Defendants’ product webpage periodically.” ]d. 11 70.

These accounts suggest that the work of Brushy at issue here is an advertisement based
upon an earlier advertisement which in turn drew upon various materials Fischer sent Brushy.
Fischer does not identify any case support that DMCA liability encompasses that sort of
composite “work.” See Faalkner Press, 756 F. Supp. 2d at 1359 (“[N]othing was removed from

the copyrighted works lnstead, information from Dr. l\/loulton’s courses was allegedly copied

 

10 Fischer attaches an exhibit (Exhibit G) to his objections in an attempt to demonstrate that he
authored one “work” claimed to underlie Brushy’s advertisement Fischer comes forward with
this exhibit too late. See Tavares, 2011 WL 5877548, at *2. ln any event, the exhibit that
Fischer produces to illustrate what he claims to have authored for Defendants does not appear to
be a document that pre-existed this litigation lnstead, it is disembodied and presented in no
recognizable context lt appears to be Fischer’s written version of the description text used by
Defendants, circumscribed by an added black box. See Obj. Ex G at 1.

26

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 27 of 42

into a different form and then incorporated into the note packages.”); Frosl‘-Tsaji Architecis v.
Highway ]nn, Inc., No. ClV. 13-00496 SOl\/l, 2014 WL 5798282, at *7 (D. l-law. Nov. 7, 2014)
(“To the extent Frost-Tsuji is arguing that Kadowaki created ‘shop drawings’ based on Frost-
'l`suji’s work and left out Frost-"l`suji’s copyright management information in the process no
actionable removal of copyright management information is involved_, as basing a drawing on
another’s work is not the same as removing copyright management information.”). Fischer’s
claim instead sounds if at all, in copyright infringement but, for the separate reasons noted in
the Report relating to the unavailability of the statutory damages that Fisher elected, he cannot
prevail on that claim.

c. Fischer’s Four Phrases

The four phrases originally relating to Fischer’s product that Brushy used in modified
form in its advertisements are of a different character, but they, too, cannot form the basis of a
DMCA claim based on the removal of Cl\/ll. CMI exists to inform the public that a work is
copyrighted and by whom. See Pers. Keepsakes, Inc. v. Personaliziationmall.corn, Inc., No. 11-
CV-5177, 2012 WL 414803, at *6 (N.D. lll. Feb. 8, 2012) (“[T]he point of CMl is to inform the
public that something is copyrighted and to prevent infringement.”) The DMCA exists in part,
to protect that notice. Id.

The four phrases of Fischer’s that Brushy modified and used, however, are not of such
character. Only one even refers to Fischer. No reader would find that the “Fischer’s” as used in
the phrase “Fischer’s Bee-Quick is a safe, gentle, and pleasant way to harvest your honey”
speaks to copyright ownership. No reader would find that this product descriptor signals that a
“J ames H. Fischer” or even someone named “Fischer” is the copyright holder of the phrase to

which it is attached and those surrounding it. The sentence instead advertises Fischer’s product

27

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 28 of 42

and fairly conveys that Fischer is the owner and/or producer of that product But that phrase_
and the other three phrases at issue_do no convey Fischer’s authorship or copyright ownership
of these expressions Although Fischer’s name is not part of the trademarked name of Fischer’s
product, his name frequently appears alongside “Bee-Quick” in the product’s marketing See,
e.g., SAC 04 Ex. 17.

An analogy illustrates the point lmagine that the back cover of the lan Fleming novel
Dr. No. contained the following encomium: “ln lan Fleming’s Dr. No, Fleming shows his
mastery of Cold War spycraft." lmagine then that a person lifted language from that review to
promote a different thriller, writing: “ln John Le Carre’s Tinker, Tailor, Soldier, Spy_, Le Carré
shows his mastery of Cold War spycraft.” Whatever the other legal implications of such conduct
might be, it is inconceivable that a DMCA claim would lie from the elimination of Fleming’s
name. The expression at issue does not connote Fleming’s copyright ownership of anything,
much less the language common to the two book-promoting blurbs. Fischer’s name_whose
deletion Fischer’s DMCA claim challenges_similarly has no CMI relevance as used in
Defendants’ advertisement lt neither informs the reader that Fischer wrote either the phrase to
which “Fischer’s” is attached or the surrounding text As the Report recognized, Fischer cannot
prevail on a DMCA claim based on the claim that the modified four phrases are the “work” from

which Cl\/ll was removed.

d. “Fischer’s Bee-Quick is a safe, gentle, and pleasant Way to
harvest your honey.”

28

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 29 of 42

For the same reasons as above, Defendant’s having replaced the word “Fischer’s” with
“Natural Honey Harvester” is not an act of CMl removal. “Fischer’s” has no CMl significance
as used in the advertisement.]]

D. Fischer’s Lanham Act False Endorsement Claim

Fischer alleges that Defendants violated Section 43(a) of the Lanham Act by including
his name in the post-domain path of URLs that linked to Defendants’ Natural Honey Harvester.
See TAC 04 1111 164-90. Fischer’s examples of this include:

» “http://brushymountainbeefarm.corn/Fume-Pad-w_-Fischers-Bee-
Quick/prodcutinfo/777F,” see SAC 04 Ex. 12;

¢ “http://brushymountainbeefa.rm.com/8-Fra.me-Fume-Pad-w_Fischers-Bee-
Quick/product info/254FPQ/,” see id. Ex. 13;

~ “http://brushymountainbeefarm.com/images/799fischers.jpg,” see id. Ex 10;

¢ “http://brushymountainbeefarm.com//images/799fischerssm.jpg,” see id.
The Report recommended that the Court grant summary judgment for Defendants on these
claims because Fischer has not shown a likelihood of confusion from Defendant’s ostensible
false endorsement See R&R 2 at 45~50. Fischer objects that the Report wrongly decided
disputed issues of fact against him on this point The Court reviews this issue de novo.

l. Applicable Legal Standards

To prevail on a false endorsement claim, a plaintiff must prove that “the defendant (1)

made a false or misleading representation of fact; (2) in commerce; (3) in connection with goods

or services (4) that is likely to cause consumer confusion as to the origin_, sponsorship_, or

 

" Although Fischer objects to the Report’s discussion of damages under the DMCA, the Court
having found that no DMCA claim validly lies has no occasion to address those objections

29

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 30 of 42

approval of the goods or services.” Beasfie Boys v. Monster Energy Co., 66 F. Supp. 3d 424,
448 (S.D.N.Y. 2014) (quoting Burck v. Mars, Ir/c., 571 F. Supp. 2d 446, 455 (S.D.N.Y. 2008)).

The first three of these factors are not in dispute. Fischer’s claim therefore turns on the
fourth factor: likelihood of confusion Although this element ordinarily presents an issue of fact
consumer confusion can become an issue of law where a “[p].laint'iff ‘cannot possibly show
confusion as to source or sponsorship.”’ Ro[)erls v. Bliss, 229 F. Supp. 3d 240, 251 (S.D.N.Y.
2017) (quoting Pirone v. MacMillan, Inc., 894 F.2d 579, 585 (2d Cir. 1990)).

When determining likelihood of consumer confusion_, this Circuit employs an eight-factor
test set forth in Polaroid Corp. v. Polarad Elecs. Corp., 287 F.2d 492 (2d Cir. 1961): “The eight
factors are: (1) strength of the trademark; (2) similarity of the marks; (3) proximity of the
products and their competitiveness with one another; (4) evidence that the senior user may
‘brid ge the gap’ by developing a product for sale in the market of the alleged infringer’s product;
(_5) evidence of actual consumer confusion; (6) evidence that the imitative mark was adopted in
bad faith; (7) respective quality of the products; and (8) sophistication of consumers in the
relevant market.” S/arl)ucks Corp. v. Wol/`e ’s Boroagh Coff`ee, Inc., 588 F,3d 97, 115 (2d Cir.
2009). However, “[t]he application of the Polaroid test is ‘not mechanical, but rather, focuses on
the ultimate question of whether, looking at the products in their totality, consumers are likely to
be confused,”’ Kelly-Brown v. Win/rey, 717 F.3d 295, 307 (2d Cir. 2013) (quoting Star Indus.
Inc. v. Bacardi & Co Ltd., 412 F.3d 373, 384 (2d Cir. 2005)).

2. Discussion
For the reasons that follows as a matter of law, Fischer cannot establish, under the

Polaroia’ factors a likelihood of consumer confusion

30

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 31 of 42

At the outset the Court finds substantially for the reasons given by Judge Peck, that
Fischer meets or appears to meet the first three factors As to the first factor, he has profitably
marketed his product for a number of years; as to the second and third, Defendants allegedly
used Fischer’s last name in URLs on web pages marketing a competing product T he Court
further finds-as is common in false endorsement cases_that factors four and seven are
irrelevant to the false endorsement claim at issue. See, e.g., Jackson v. ()denal, 9 F. Supp. 3d
342, 356 (S.D.N.Y. 2014) (“Courts adjust the factors when dealing with false endorsement
claims ln such cases the quality of the products and ‘bridging the gap’ are often not
considered.”).

'l`he Couit’s analysis therefore focuses on factors five (“evidence of actual consumer
confusion”), six (“evidence that the imitative mark was adopted in bad faith”). and eight
(“sophistication of the consumers in the relevant market”).

a. Evidence of Actual Consumer Confusion

Although “actual confusion need not be shown to prevail under the Lanham Act, since
actual confusion is very difficult to prove and the Act requires only a likelihood of confusion as
to source,” Beastie Boys, 66 F. Supp. 3d at 456 (quoting Lois Sportswear, U.S.A., Inc. v. Levi
Straass & Co., 799 F.2d 867, 875 (2d Cir. 1986)), “it is certainly proper for the trial judge to
infer from the absence of actual confusion that there was also no likelihood of confusion,”
Affliated Hosp. Prods., Inc. v. Merdel Garne Mfg. Co., 513 F.2d 1183, 1188 (2d Cir. 1975).

Here, Fischer has failed to demonstrate any actual consumer confusion As ostensible
proof of such confusion, Fischer relies on the following evidence: a single review that he claims

is from Brushy’s website_; an observation that Google displays Natural Honey Harvester when

31

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 32 of 42

asked to search for Fischer’s Bee-Quick; and the claim that the use of his name in certain of
Brushy’s UR.LS constituted initial interest confusion The Court considers each item in turn

As to the review: Fischer attached a single review which he claims he drew from
Brushy’s website. lt states that an earlier shipment of a product was not as good as a later
shipment See Fischer Aff. Ex. B (“The first bottle l bought last year worked well but this new
stuff was a complete waste of time and money.”). Fischer asks the Court to infer that the
customer was referring to Fischer’s Bee-Quick in the first instance and Natural Honey Harvester
in the second. T his however, is speculation: Fischer apparently did not develop and has not
provided any evidence to the effect that either product to which the review refers is Bee-Quick.12

As to Google: Fischer alleges that search engines like Google would route customers to
Natural Honey Harvester because Fischer’s name appeared in the post-domain path in certain
Brushy URLs. TAC 04 11 175. But Fischer’s evidence does not demonstrate that a purchaser is
in fact, led to Brushy’s website by virtue of the URL containing Fischer’s name Rather,
Fischer’s evidence, as he describes it reflects only that:

“Google results for [Fischer bee] . . . cite Plaintiff s products and services in 9 of

first 10 results 17 of first 20, and 21 of first 30 results [Beekeeping Fischer] cites

Plaintiff and his products in 8 of the lst 10, 16 of the lst 20, and 22 of the lst 30
results [Jim Fischer bee] cites Plaintiff and his products in 37 of the first 40

results.”

Fischer Aff. at 9-10. This evidence does not show actual confusion. lndeed, far from showing
that customers were led astray, Fischer’s Google evidence appears to indicate the opposite, that

is that his own product overwhelmingly appears when his name is searched. As important this

 

12 Although not necessary to the Court’s ruling, Gebauer’s supplemental affidavit states that the
review was posted on l\/Iay 7, 2013, long after Brushy discontinued selling Fischer’s products
See Dkt 183 (Gebauer Supp. Decl.) 1111 3-4.

32

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 33 of 42

evidence does not show that Natural Honey Harvester appears instead-it does not indicate that
the few search results for sites other than Fischer’s product are for Brushy’s website. Fischer’s
evidence further fails to show that, to the limited extent that non-Fischer websites came up as a
result of the Google search, these websites presented as a result of the inclusion of his name in
Brushy’s post-domain URL.13

As to “initial interest” confusion: Although Fischer only obliquely mentioned this item
in opposing summary judgment he alleged in his Complaint that Brushy sought to create “initial
interest” confusion by including Fischer’s name in the URL for Natural Honey Harvester, and he
returns to this point in his objections to the Report Obj. at 12 (“the initial diversion . . . is the
‘actual confusion’ here.”). lnitial interest confusion “arises when a consumer who searches for
the plaintiff’s website with the aid of a search engine is directed instead to the defendant’s site
because of a similarity in the parties’ website addresses.” Savin Corp. v. Savin Grp., 391 F.3d
439, 462 n.l3 (2d Cir. 2004). “Because consumers diverted on the lnternet can more readily get
back on track than those in actual space, thus minimizing the harm to the owner of the searched-
for site from consumers becoming trapped in a competing site, lnternet initial interest confusion
requires a showing of intentional deception.” Id. But for the reasons recounted above, Fischer’s
claim of initial interest confusion is factually threadbare. He has not come forward with any
evidence that consumers were diverted to Brushy’s website when searching for Fischer’s product
online, let alone that such diversion resulted from the inclusion of Fischer’s name in the post-

domain path of the URL.

 

13 ln his objections Fischer states that he “submitted an affidavit detailing how his name in the
URL brought the offending page up in Google searches,” citing to Fischer Dep. at 212~13. Obj.
at ll. The cited deposition, however, does not establish that point, but merely recounts that
Fischer has so alleged.

33

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 34 of 42

Fischer thus has not demonstrated any actual confusion.

b. Evidence That the Imitative Mark Was Adopted in Bad Faith

Fischer argues that Brushy’s use of Fischer’s name in the post-domain URL was adopted
in bad faith because “continuing use of a mark knowing that it is wrongful” demonstrates bad
faith. Obj. at 11 (quoting First Savings Bank, F.S.B. v. U.S. Barzcorp, 117 F. Supp. 2d 1078,
1088 (D. Kan. 2000)). But Fischer has not substantiated his claim that the inclusion of his name
in the post-domain URL was done knowingly. There is no evidence direct or circumstantial_-
whether in the form of testimony, emails and other records or conduct_so indicating On the
contrary, Gebauer has explained this circumstance as follows:

When Brushy Mountain switched from the Bee-Quick to the Natural Honey

Harvester product the ad created by Brushy Mountain for the Bee-Quick product

was changed, but the URL was mistakenly not changed. Once l learned the URLs

contained the words ‘Fischers’ and ‘Fischer’s Bee-Quick’ l had the URLS changed.
Gebauer Decl. 11 9. ln his deposition, Fischer gave testimony consistent with this benign
explanation See Fischer Dep. at 153 (“Q: [D]id Brushy Mountain, on their website, use the
same URL that they sold Bee-Quick as they did when they switched over and started selling
Natural Honey Harvester? A: Yes. They continued to use the same URL.”).

With the evidence indicating that Brushy’s initial maintenance of the earlier URL was an
inadvertent error, Fischer is forced to argue that Brushy’s failure to remove his name from the
URL’s was an act of bad faith. But the evidence Fischer adduces does not bear this out.

First, Fischer claims that, based on his “read[ing] the manuals stud[ying] the training
videos and sp[eaking] with tech staff at Dyacomp,” the software used by Gebauer does not now

operate as Gebauer claims it does Fischer Aff. at 8. Fischer’s lay conclusion to this effect does

not suffice to substantiate this claim as to the operation of his competitor’s software. He has not

34

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 35 of 42

for example, deposed a Dyacomp employee or, for that matter, come forward with documentary
or testimonial evidence that the website functions other than as Gebauer has stated.

Second, Fischer notes that Brushy’s website retains two links archived in its web server,
that contain Fischer’s name. Pl. Obj. Reply at 7. At argument before Judge Peck, however,
Brushy’s lawyer emphasized that the links do not appear on any page advertising Defendants’
products and explained that the two links were not removed from the website archives out of a
concern that such removal “could be perceived as spoliation of evidence.” R&R 2 at 46 n.30.
Fischer has not come forward with contrary evidence as to the operation of, or the reason for the
retention of, these two links

'l`hese slender threads are insufficient to establish this important Polaroid factor. “[T]o
show bad faith, a plaintiff must show that the defendant intended to create confusion between the
products or marks at issue.” Crye Precision LLC v. Duro Textiles, LLC, 689 F. App’x 104, 108
(2d Cir. 2017). Fischer, however, has not shown any action by Defendants undertaken with
intent to confuse

c. Sophistication of the Consumers

Fischer argues that “the sophistication of the consumer here actually makes it more likely
that they were confused as they would know that Fischer’s name was synonymous with quality
bee-keeping products.” Pl. Br. at 21. However, Judge Peck persuasively refuted that argument
emphasizing the context in which Fischer’s name appears on Defendants’ website: “Whether
defined as the typical consumer of beekeeping products or lnternet users writ large, no ordinary
consumer is likely to see Fischer’s name in the post-domain path of the URL and wonder if that
signified his endorsement of a completely different product in the accompanying web page.”

R&R 2 at 49 n.34. This factor, too, as Judge Peck found, does not assist Fischer.

35

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 36 of 42

d. Other Considerations and Overall Assessment

The Court considers two other aspects of Judge Peck’s analysis with which Fischer takes
issue.

First, Fischer objects that the Report in analyzing the likelihood of consumer confusion,
cited a case that dealt with “domain squatting,” a situation not present here. Obj. at 10 (citing
R&R 2 at 46). But Judge Peck’s Report cited Interactive Products Corp. v. a22 Mobile Ojj‘ice
Sols., Inc., 326 F.3d 687, 692 (6th Cir. 2004), not as controlling precedent but because that case
“provid[es] a helpful discussion of the mechanics of website URLs” R&R 2 at 48 n.32; that
decision, however, as Judge Peck emphasized, “d[id] not guide the [Report’s] consumer
confusion analysis” id. And, on its review, the Court agrees that lnteraetive Products Corp. is
useful as a guide to the concept of post-domain paths The Sixth Circuit helpfully explained that
while trademark names used in domain names often give rise to trademark infringement claims
because domain names “usually signify source,” post-domain paths usually do not do so. 326
F.3d at 696-97. As the Sixth Circuit explained: “Typically, web pages containing post-domain
paths are not reached by entering the full URL into a browser; instead, these secondary pages are
usually reached via a link from the website’s homepage, which does not contain a post-domain
path.” Id. at 697. “A post-domain path . . . merely shows how a website’s data is organized
within the host computer’s files.” Id. at 691. The Sixth Circuit’s discussion reasonably informed
Judge Peck’s assessment that, in considering the likelihood of consumer confusion, it is
important to distinguish between a domain name and a post-domain path.

To be sure, that a competitor’s trademark was situated in a post-domain path does not
preclude a finding of likely confusion See, e.g., H-D U.S.A., LLC v. SunFrog, LLC, No. 17-CV-

711-JPS, 2017 WL 3261709, at *4-5 (E.D. Wis. July 31, 2017) (issuing preliminary injunction

36

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 37 of 42

based in part on evidence that placement of a trademark in a post-domain path was done with
intent to confuse and that the post-domain path led to a website selling counterfeit products).
But Judge Peck did not hold otherwise, and, for the reasons noted above, the factors yielding the
finding of likely confusion in H-D U.S.A. , are not present here.

Second, Fischer objects that in the likelihood of confusion inquiry, the continued use of a
mark after the termination of a licensing agreement should be a factor in his favor. Obj. at 11.
Courts in this district have indeed held tha “‘[w]hen an ex-licensee continues to use a mark after
its license expires likelihood of confusion is established as a matter of law.”’ Microban Prod.
Co. v. APIIndus., Inc., No. 14 ClV. 41 KPF, 2014 WL 1856471, at *6 (S.D.N.Y. May 8, 2014)
(quoting L & L Wings, Inc. v. Marco-Destin, Inc., 676 F. Supp. 2d 179, 188 (S.D.N.Y. 2009)).
Here, however, as Judge Peck recognized, Brushy has not used Fischer’s name as a mark.
Fischer does not for example, allege-let alone establish_that, after termination of its license,
Brushy continued to sell its products with Fischer’s logo attached to them or to use Fischer’s
name in the domain name of its website. Fischer’s claim instead is that consumers are likely to
be confused as to whether he sponsors or endorses Natural Honey Harvester merely because his
name appears in the post-domain path of some of Brushy’s URLs. The cases on which Fischer
relies applying a per se rule to use of a mark by former licensees are not applicable to this
circumstance, in which the fact-intensive Polaroid test properly applies See Kelly-Brown, 717
F.3d at 307.

ln the end, the decisive question is whether, “looking at the [marks] in their totality,
consumers are likely to be confused.” Starbucks Corp., 588 F.3d at 115 (internal quotation
omitted). “Likelihood of confusion means a probability of confusion; it is not sufficient if

confusion is merely possible.” Estee Lauder Inc. v. The Gap, Inc., 108 F.3d 1503, 1510 (2d Cir.

37

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 38 of 42

1997) (quotations omitted). Here, although there are factors that favor Fischer, those the Court
finds most decisive disfavor Fischer’s claim. He has not shown actual confusion or bad faith.
And the sole use of his name is not as a mark. Fischer’s name is instead tucked away in the post-
domain path of Brushy’s URL. The Court concludes with Judge Peck, that, as a matter of law,
Fischer “‘cannot possibly show confusion as to source or sponsorship.”’ Rol)erts, 229 F. Supp.
3d at 251 (quoting Pirone, 894 F.2d at 585). On the evidence adduced, consumers are not at all
likely to be confused as to whether Fischer endorses or sponsors Natural Honey Harvester based
on the fact that his name appears in the post-domain path of Brushy’s URLs. The Court
therefore agrees that Brushy’s motions for summary judgment on Fischer’s false endorsement
claims are property granted.

E. Fischer’s Unfair Competition Claim Under New York Law

Fischer next objects to the Report’s recommendation that the Court grant summary
judgment in favor ofBrushy on Fischer’s common law unfair competition claim, brought under
New York law. Obj. at 10-12. Fischer argues that, in so recommending, Judge Peck improperly
resolved an issue of fact as to whether there was actual confusion Id.

The Couit’s discussion above controls as to this point The elements of an unfair
competition claim under New York law are identical to the elements of an unfair competition
claim under the Lanham Act, save that the plaintiff must also show “bad faith by the infringing
party.” In)‘ ’l Dia/nond Invporters, Inc. v. Oriental Gemco (N. Y.), Inc., 64 F. Supp. 3d 494, 514
(S.D.N.Y. 2014) (quoting Perfecl' Pearl Co. v. Majestic Pearl & Stone, Inc., 887 F. Supp. 2d
519, 541 (S.D.N.Y. 2012)). Here, for the reasons above, Fischer has not made out a viable
Lanham Act claim, and has not adduced evidence sufficient to support a finding of bad faith on

Brushy’s part Brushy’s summary judgment motion on this claim is, therefore, granted.

38

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 39 of 42

G. Fischer’s False Advertising Claims

“To prevail on a Lanham Act false advertising claim, a plaintiff must establish that the
challenged message is ( 1) either literally or impliedly false, (2) material, (3) placed in interstate
commerce, and (4) the cause of actual or likely injury to the plaintiff” Church & Dwight Co. v.
SPD Swi.s's Preci.s't`on Diagnostics, GmBH, 843 F.3d 48, 65 (2d Cir. 2016).

l--lere, Fischer brings two false advertising claims under the Lanham Act The first alleges
that Brushy’s description of Natural Honey Harvester as “100% Natural” is false. TAC 04
1111 210(a), 211; see Pl. Br. at 26. The second alleges that Brushy’s statement that it “c[a],me out
with [its] own” product (i.e., Natural l-loney l'larvester) is false because Brushy purchases
Natural Honey Harvester from a third party. 'l`AC 1111210(d), 211; see Pl. Br. at 26. 'l`he Court
addresses these in turn

1. “100% Natural”

Brushy describes Natural Honey Harvester as “100% Natural” in its online and print
advertisements Fischer alleged that this claim is false insofar as Natural Honey Harvest is not
in fact “100% Natural.” Fischer does not however, object to the Report’s recommendation that
this Court grant summary judgment for Defendants on this claim, T he Court finding no clear
error, adopts the Report’s recommendation

2. “Come out with our own”

ln its advertisement for Natural Honey Harvestcr, Brushy states: “For years we have

promoted the use ofa natural product to harvest honey but an unreliable supply of such a product

has forced us to come out with our own.” 1ee SAC 04 Ex. 8.14 Fischer argues that “our own” is

 

14 ln his objections Fischer alternatively styles Brushy’s offending phrase as “We made our
own” and “We came out with our own.” Obj. at 2, 12. ln fact, both as alleged by Fischer and as

39

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 40 of 42

false because Brushy purchases the product it sells from a third-party. Pl. Br. at 22. 'l`he Report
recommended that the Court grant summary judgment for Defendants because the operative
term, “our own,” is neither literally nor impliedly false. R&R 2 at 54-58. Fischer objects that
this was an issue of fact not appropriately resolved by a court Obj. at 12. The Court reviews
this issue de novo. For the reasons that follow, the Court agrees with Judge Peck that summary
judgment is properly granted for Defendants because the evidence does not show literal or
implied falsity.
a. Literal Falsity

“To establish literal falsity, a plaintiff must show that the advertisement either makes an
express statement that is false or a statement that is ‘false by necessary implication,’ meaning
that the advertisement’s ‘words or images considered in context necessarily and unambiguously
imply a false message,”’ Church & Dwight Co., 843 F.3d at 65 (quoting T/,'me Warner Cal)le,
Inc. v. D]RECTV, Inc., 497 F.3d 144, 158 (2d Cir. 2007)). A message can only be literally false
ifit is unambiguous Id.

l-lere, the Court finds that the statement “come out with our own” is not literally false
because it is not unambiguous See Apotex Inc. v. Acorda Therapeutics, Inc., 823 F.3d 51, 63
(2d Cir. 2016) (“[O]nly an unambiguous message can be literally false.” (quoting Time Warner
Ca/)le, 843 F.3d at 153) (emphasis in original)). The phrase does not unavoidably signify that
the product offered by Brushy was created in the first instance by Brushy. lndeed, Fischer’s
allegations in his complaint which assign alternative interpretations to this phrase, underscore its

uncertain meaning See TAC 04 11 210(d) (“The claim ‘has forced us to come out with our own’

 

reflected in Brushy’s advertisement the phrase used is “for'ced us to come out with our own.”
See TAC 04 11 210(d); SAC 04 Ex. 8.

40

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 41 of 42

implies that they are somehow making the same product or have taken over the manufacturing
of Plaintiff"s product and/or that their product is related to, approved by, endorsed by, licensed,
or authorized by Plaintiff.”); see also Classic Liquor Irnporters, Ltd. v. Spirils Int ’l B. V., 201 F.
Supp. 3d 428, 453 (S.D.N.Y. 2016) (plaintif`fs own admission that the term “Since 1867” could
have different meanings demonstrated term’s ambiguity); Tinte Warner Cable, Inc., 497 F.3d at
158 (“[l]f the language or graphic is susceptible to more than one reasonable interpretation, the
advertisement cannot be literally false.”). 15
b. Implied Falsity

Where a message is not literally false, a plaintiff may nonetheless demonstrate that it is
impliedly false where the message leaves “an impression on the listener or viewer that conflicts
with reality.” Church & Dwight Co., 843 F.3d at 65 (quoting Time Warner Cable, 497 F.3d at
153). However, “courts have, at times required a claim of implied falsity to be supported by
extrinsic evidence of consumer confusion.” Id. “Alternatively, courts have allowed implied
falsity to be supported by evidence that the defendant intended to deceive the public through

‘deliberate conduct’ of an ‘egregious natur'e,’ in which case a rebuttable presumption of

 

15 The formulation used by the Second Circuit in Tirne Warner Cable can be read to suggest that
a statement cannot be literally false if its meaning is ambiguous even if each alternative meaning
of the statement is itself false. See Classic Liquor Importers, 201 F. Supp. 3d at 453 n.27 (“One
could argue that despite the Second Circuit’s seemingly clear mandate that a message be
‘unambiguous’ to be deemed literally false, it would be illogical to require extrinsic evidence of
consumer deception if it were the case that each possible message conveyed by an ambiguous
statement was indisputably false.”). This Court has no occasion to consider that circumstance
here, because the expression at issue_“came out with our own”_is susceptible to at least one
truthful construction: that Natural Honey Harvester replaced Bee-Quick. Fischer’s Complaint
recognizes as much. See TAC 04 11 21 l(e). To be sure, Fischer disputes that Brushy’s Natural
Honey Harvester is equivalent to his Bee-Quick. But whether or not Brushy’s is an inferior
product it is undisputed that Natural l-loney Harvester replaced Bee-Quick as the product
marketed by Brushy.

41

Case 1:14-cv-01304-PAE-A.]P Document 197 Filed 02/16/18 Page 42 of 42

consumer confusion arises.” Id. (quoting Merck Eprova AG v. Gnosis S.p.A., 760 F.3d 247, 255-
56 (2d Cir. 2104)).

llere, as reviewed above, Fischer has not come forward with any credible evidence of
consumer confusion He therefore cannot establish implied falsity by that route Nor has he
adduced any evidence that Brushy’s behavior in advertising its product with the term “come out
with our own” was in any sense deliberately deceptive and “egregious” Fischer has therefore
failed to add adduce evidence establishing_, on the first element of actual or implied falsity,
a genuine issue for trial. See Aslanidis v. U.S. Lines, Inc., 7 F.3d 1067, 1072 (2d Cir. 1993). The
Court therefore grants Brushy’s motions for summary judgment on this point

H. Remainder of the Report

The Court has reviewed the remaining portions of the Report as to which Fischer did not
file any objections The Court finds no clear error and adopts Judge Peck’s recommendations in
full.

CONCLUS:[ON

F or the foregoing reasons the Court grants Brushy’s motions for summary judgment

The Clerk ofCourt is respectfully directed to close the motions pending at 14 Civ. 1304, Dkt.

170, and 14 Civ. 1307, Dkt. 172, and to close this case.

SO ORDERED. FMM FQ l GMMM/

Paul A. Engelmayer 11 111
United States District Judge

 

Dated: February 16, 2018
New York, New York

42

